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 1 KATHLEEN A. LEAVITT
                                                                                   E-FILED
   CHAPTER 13 BANKRUPTCY TRUSTEE
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 5
                                         UNITED STATES BANKRUPTCY COURT
 6                                              DISTRICT OF NEVADA


 7 IN RE:                                                        CHAPTER 13
   DIVINA AQUINO                                                 CASE NO: BKS-19-12664-ABL
 8                                                               MOTION TO DISMISS
                                       Debtor(s)
 9                                                               MOTION TO DISMISS
                                                                 Hearing Date: 03/12/2020
10 ISSO AND HUGHES LAW FIRM                                      Hearing Time: 2:00 pm
   Attorney for the Debtor
11
         Comes now KATHLEEN A. LEAVITT, Chapter 13 Bankruptcy Trustee, in the above captioned
12

     bankruptcy case and files this Motion based on the Memorandum of Points and Authorities as follows:
13

14                                           Memorandum of Points and Authorities


15                                                       Statement of Facts

16       1. Debtor(s) filed an Original Petition under Chapter 13, Title 11 of the United States Code on

17 04/30/2019.

18       2. Debtor(s) Plan has not been confirmed.

19       3. Trustee requests that the Court take Judicial Notice of the Docket in this case.

20                                                            Argument

21       The Trustee requests that this case be dismissed pursuant to 11 U.S.C.§ 1307 (c) for one or more of the

22 following reasons:

23                   · Debtor(s) is/are delinquent in plan payments. 11 U.S.C. §1307(c)(1)
                     · Debtor(s) failed to comply with notice/re-notice requirements. Failure to set a confirmation
24                   hearing according to 11 U.S.C. § 1324(b) F.R.B.P. 2002(a) & (b) & 11 U.S.C. §1307(c)(1)
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 1                    · Compensation of Debtor(s)’ attorney requires an independent review by the court. Trustee
                      requests that Debtor(s)’ attorney file an application for compensation pursuant to 11 U.S.C. §330.
 2
                      · The Plan fails to provide for all of the Debtor(s)’ Disposable Income pursuant to 11 U.S.C.
                      §1325(a)(3) and (b) based on: Debtor contributes $1509 per mo to her 401k while paying 0% to
 3
                      general unsecured creditors. 11 U.S.C. sec. 1325(a)(3). Trustee objects to the voluntary
                      retirement contribution as this expense is not permitted during the pendency of the bankruptcy
 4
                      case. Parks v. Drummond, 475 B.R. 703 (9th Cir. B.A.P. 2012).
                      · Other: Trustee objects to the Debtor paying for daughter's car insurance since she is working
 5
                      per testimony (Rav4)
 6
         Debtor(s) failed to cooperate with the Trustee as necessary to enable the Trustee to perform her duties
 7
     pursuant to 11 U.S.C. §521(a)(3), §704 and/or §1302. This failure to cooperate has caused unreasonable delay
 8
     that is prejudicial to creditors under 11 U.S.C. §1307(c)(1) as the Debtor(s) did not provide the following
 9
     documents:
10                    · Verification of Childcare and education costs of $500; verify charitable contribution of $200..
                      · Amendment to Plan: Section 2.3 is not correct; Section 5.1- clarify treatment of this claim
11                    and a Proof of Claim or other order will be required in order for the Trustee to pay this claim. .
                      · Amendment to Schedule J. Current Expenditures of Individual Debtor(s): to remove vehicle
12                    payment of $380 for the 2019 Toyota C-HR unless intent is to pay directly..
                                                                Conclusion
13
         WHEREFORE, for the foregoing reasons, the Trustee recommends that this case be dismissed pursuant to
14
     11 U.S.C. §1307(c).
15
     Dated: 1/30/20                                                 /s/ Kathleen A. Leavitt
16                                                                  Kathleen A. Leavitt
                                                                    Chapter 13 Trustee
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